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                         UNITED STATES DISTRICT COURT FOR THE
                            SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO.: 15-60185-CIV-ZLOCH


 FORT LAUDERDALE FOOD NOT
 BOMBS,NATHAN PIM,JILLIAN PIM,
 IIAYLEE BECKER AND WILLIAM TOOLE,

        Plaintiffs,
 vs.

 CITY OF FORT LAUDERDALE,

        Defendants.
                                                     I


                      STIPULATION FOR SUBSTITUTION OF COUNSEL

        It is hereby stipulated that Michael T. Burke ofJohnson, Anselmo Murdoch,et al., P.A.shall

 be substituted as counsel for CITY OF FORT LAUDERDALE,in place of Alain E. Boileau, City

 Attorneys Office, City of Fort Lauderdale,and further, that Alain E. Boileau shall be relieved ofany

further obligations as counsel for CITY OF FORT LAUDERDALE.A copy of the Client's Consent

is attached hereto.

Alain E. Boileau, Esq.                                Michael T. Burke Esq.
City of Fort Lauderdale                               JOHNSON, ANSELMO, MURDOCH,
City Attorney's Office                                BURKE,PIPER & HOCHMAN,P.A.
100 North Andrews Avenue                              2455 East Sunrise Boulevard, Suite 1000
Fort Lauderdale, FL 33301                             Fort Lauderdale, FL 33304
Telephone: 954-828-5025                               Telephone: 954-463-0100

By:/s/Alain E Boileau                                 By:    /s/Michael T Burke
       ALAIN E. BOILEAU                                        MICHAEL T. BURKE
       Florida Bar No. 148598                                 Florida Bar No. 338771
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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 4th day of September, 2018, I electronically filed the
 foregoing document with the Clerk of the Court using CM/ECF. I also certify that the foregoing
 document is being served this day on all counsel of records or pro se parties identified on the
 attached Service List in the manner specified, either via transmission of Notice of Electronic Filing
 generated by CM/ECF or in some other authorized manner for those counsel or parties who are not
 authorized to receive electronically or in some other authorized manner for those counsel or parties
 who are not authorized to receive electronically Notices of Electronic Filing.


                                               JOHNSON,ANSELMO,MURDOCH,BURKE,
                                               PIPER & HOCHMAN,P.A.
                                               Counselfor Defendant City
                                               2455 East Sunrise Boulevard, Ste. 1000
                                               Fort Lauderdale, FL 33304
                                               Telephone: 954-463-0100

                                               BY: /s/Michael T. Burke
                                                  MICHAEL T. BURKE
                                                  Florida Bar No. 338771
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                                            SERVICE LIST

 Kirsten Clanton, Esquire
 Kirsten.clanton southernlegaLorg
 Jodi Siegel, Esquire
 Jodi.siegelasouthernlegatortz
 Southern Legal Counsel, Inc.
 1229 NW 12th Avenue
 Gainesville, FL 32601
 Telephone:(352)271-8890
 Counsel for Plaintiffs

 Mara Shlackman, Esquire
 maraQshlackmanlaw.com
 Law Offices of Mara Shlackman, P.L.
 757 SE 17th Street, PMB 309
 Fort Lauderdale, FL 33316
 Telephone:(954) 523-1131
 Counsel for Plaintiffs

 Andrea Costello, Esquire
 andreacraacclorg
 Legal Advocacy Center of Central Florida
 1610 SE 36th Avenue
 Ocala, FL 34471
 Telephone:(352)482-0179
 Counsel for Plaintiffs

Michael T. Burke, Esquire
Johnson, Anselmo, Murdoch, Burke,
Piper & Hochman, P.A.
2455 East Sunrise Boulevard, Ste. 1000
Ft. Lauderdale, FL 33304
Telephone: 954-463-0100
Burke@jambg.com
Cardona@iambg.com
Counsel for Defendant

Main E. Boileau, Esq.
City of Fort Lauderdale
City Attorney's Office
100 North Andrews Avenue
Fort Lauderdale, FL 33301
Telephone: 954-828-5025
aboileau@fortlauderdale._gov
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             NOTICE OF CLIENT CONSENT FOR SUBSTITUTION OF COUNSEL


           Defendant, CITY OF FORT LAUDERDALE,hereby consents to the filing ofa Stipulation

   for Substitution ofCounsel and entry ofan Order Adopting and Approving Substitution of Counsel

    of Michael T. Burke of Johnson, Anselmo Murdoch, et al., P.A. in place and stead of Alain E,

   Boileau in this matter, United States District Court for the Southern District ofFlorida, Case No. 15-

   60185-CIV-ZLOCH,

                                                         CITY OF FORT LAUDERDALE



                                                         B
                                                                Alan? E. Boileau
                                                         Title: C   In; nnowey
